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     CAROLYN HUERTA
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:11-cr-119 WBS
12
                               Plaintiff,                AMENDED STIPULATED MOTION AND
13                                                       [lodged] ORDER TO REDUCE SENTENCE
               v.                                        PURSUANT TO 18 U.S.C. § 3582(c)(2)
14
     CAROLYN HUERTA,                                     RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable WILLIAM B. SHUBB

17             Defendant, CAROLYN HUERTA, by and through her attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On December 23, 2013, this Court sentenced Ms. Huerta to a term of 121 months

25   imprisonment;

26             3.         Her total offense level was 29, her criminal history category was IV, and the

27   resulting guideline range was 121 to 151 months;

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     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Ms. Huerta was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Ms. Huerta’s total offense level has been reduced from 29 to 27, and her amended
5    guideline range is 120 to 125 months, as limited by operation of the statutory mandatory
6    minimum;
7              6.         By reducing the base offense levels assigned to all drug trafficking offenses, and
8    by making that change retroactive, the United States Sentencing Commission indicated that the
9    guideline range applicable to Ms. Huerta’s offense at the time of sentencing constitute an overly
10   harsh reference point for determining her sentence. Ms. Huerta received a low-end sentence on
11   her initial sentencing, and as such the parties request a low-end sentence on sentence
12   modification in light of Amendment 782.
13             7.         Accordingly, the parties request the Court enter the order lodged herewith
14   reducing Ms. Huerta’s term of imprisonment to a total term of 120 months.
15   Respectfully submitted,
16   Dated: December 7, 2015                            Dated: December 7, 2015
17
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
18   United States Attorney                             Federal Defender

19
      /s/ Jason Hitt                                    /s/ Hannah Labaree_ _
20   JASON HITT                                         HANNAH R. LABAREE
     Assistant U.S. Attorney                            Assistant Federal Defender
21
     Attorney for Plaintiff                             Attorney for Defendant
22   UNITED STATES OF AMERICA                           CAROLYN HUERTA

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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Ms. Huerta is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 120 to 125 months, as limited by operation of the statutory mandatory
7    minimum.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in December 2013 is
9    reduced to a term of 120 months, a sentence that is consistent with the statutory minimum
10   mandatory and fair and reasonable pursuant to 18 U.S.C. § 3553(a).
11             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
12   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
13   reduction in sentence, and shall serve certified copies of the amended judgment on the United
14   States Bureau of Prisons and the United States Probation Office.
15             Unless otherwise ordered, Ms. Huerta shall report to the United States Probation Office
16   within seventy-two hours after her release.
17   Dated: December 16, 2015
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     Stipulation and Order Re: Sentence Reduction        3
